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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION
                                        ______

KEVIN WILLIAMS,

                       Plaintiff,                     Case No. 2:18-cv-175
v.                                                    Honorable Gordon J. Quist
ASTER BERHANE,

                       Defendant.
____________________________/

                                             OPINION

               This is a civil rights action brought by a state prisoner under 42 U.S.C. § 1983.

Under the Prison Litigation Reform Act, Pub. L. No. 104-134, 110 Stat. 1321 (1996) (PLRA), the

Court is required to dismiss any prisoner action brought under federal law if the complaint is

frivolous, malicious, fails to state a claim upon which relief can be granted, or seeks monetary

relief from a defendant immune from such relief. 28 U.S.C. §§ 1915(e)(2), 1915A; 42 U.S.C.

§ 1997e(c). The Court must read Plaintiff’s pro se complaint indulgently, see Haines v. Kerner,

404 U.S. 519, 520 (1972), and accept Plaintiff’s allegations as true, unless they are clearly

irrational or wholly incredible. Denton v. Hernandez, 504 U.S. 25, 33 (1992). Applying these

standards, the Court will dismiss Plaintiff’s complaint as frivolous.

                                             Discussion

               I.      Factual allegations

               Plaintiff is presently incarcerated with the Michigan Department of Corrections

(MDOC) at the Lakeland Correctional Facility (LCF) in Coldwater, Branch County, Michigan.
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The events about which he complains, however, occurred at the Alger Correctional Facility (LMF)

in Munising, Alger County, Michigan. Plaintiff sues Defendant Aster Berhane, M.D.

               Plaintiff alleges that prior to his confinement in the Michigan Department of

Corrections, he was under the care and treatment of Joseph Mashni, M.D. and John Spriegel, M.D.

for high uric acid levels, which caused Plaintiff to suffer from gout. Plaintiff arrived at LMF on

October 25, 2010, and kited health care regarding severe chronic pain in his big toes, ankles, knees,

elbows and neck. Defendant refused to prescribe Tramadol, which Plaintiff had been receiving

for his condition. Defendant ordered Allopurinol for Plaintiff, but failed to ensure that he actually

received the medication. Plaintiff claims that he suffered with unnecessary pain for three and a

half years, until he was seen by Dr. Wilson, M.D. on December 19, 2014. Dr. Wilson discovered

that Plaintiff was taking a dangerously high dose of Allopurinol. Plaintiff claims that Defendant’s

treatment violated his rights under the Eighth Amendment and caused long-term pain and damage

to Plaintiff’s joints. Plaintiff seeks damages and equitable relief.

               II.     Statute of limitations

               State statutes of limitations and tolling principles apply to determine the timeliness

of claims asserted under 42 U.S.C. § 1983. Wilson v. Garcia, 471 U.S. 261, 268-69 (1985). For

civil rights suits filed in Michigan under § 1983, the statute of limitations is three years. See Mich.

Comp. Laws § 600.5805(10); Carroll v. Wilkerson, 782 F.2d 44, 44 (6th Cir. 1986) (per curiam);

Stafford v. Vaughn, No. 97-2239, 1999 WL 96990, at *1 (6th Cir. Feb. 2, 1999). Accrual of the

claim for relief, however, is a question of federal law. Collyer v. Darling, 98 F.3d 211, 220

(6th Cir. 1996); Sevier v. Turner, 742 F.2d 262, 272 (6th Cir. 1984). The statute of limitations




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begins to run when the aggrieved party knows or has reason to know of the injury that is the basis

of his action. Collyer, 98 F.3d at 220. 1

                  Plaintiff’s complaint is untimely. He asserts claims arising between 2010 and

December 19, 2014. Plaintiff had reason to know of the “harms” done to him at the time they

occurred. Hence, his claims accrued not later than December 19, 2014. However, he did not file

his complaint until October 4, 2018, well past Michigan’s three-year limit. Moreover, Michigan

law no longer tolls the running of the statute of limitations when a plaintiff is incarcerated. See

Mich. Comp. Laws § 600.5851(9). Further, it is well established that ignorance of the law does

not warrant equitable tolling of a statute of limitations. See Rose v. Dole, 945 F.2d 1331, 1335

(6th Cir. 1991); Jones v. Gen. Motors Corp., 939 F.2d 380, 385 (6th Cir. 1991); Mason v. Dep’t

of Justice, No. 01-5701, 2002 WL 1334756, at *2 (6th Cir. June 17, 2002).

                  A complaint “is frivolous where it lacks an arguable basis either in law or in fact.”

Neitzke v. Williams, 490 U.S. 319, 325 (1989). A complaint may be dismissed as frivolous if it is

time-barred by the appropriate statute of limitations. See Dellis v. Corr. Corp. of Am., 257 F.3d

508, 511 (6th Cir. 2001). The Sixth Circuit has repeatedly held that when a meritorious affirmative

defense based upon the applicable statute of limitations is obvious from the face of the complaint,

sua sponte dismissal of the complaint is appropriate. See Dellis, 257 F.3d at 511; Beach v. Ohio,

No. 03-3187, 2003 WL 22416912, at *1 (6th Cir. Oct. 21, 2003); Castillo v. Grogan, No. 02-5294,

2002 WL 31780936, at *1 (6th Cir. Dec. 11, 2002); Duff v. Yount, No. 02-5250, 2002 WL




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  28 U.S.C. § 1658 created a “catch-all” limitations period of four years for civil actions arising under federal statutes
enacted after December 1, 1990. The Supreme Court’s decision in Jones v. R.R. Donnelley & Sons Co., 541 U.S. 369
(2004), which applied this federal four-year limitations period to a suit alleging racial discrimination under § 1981
does not apply to prisoner claims under 28 U.S.C. § 1983 because, while § 1983 was amended in 1996, prisoner civil
rights actions under § 1983 were not “made possible” by the amended statute. Id. at 382.



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31388756, at *1-2 (6th Cir. Oct. 22, 2002); Paige v. Pandya, No. 00-1325, 2000 WL 1828653

(6th Cir. Dec. 5, 2000). Therefore, absent tolling of the statute of limitations, Plaintiff’s action

must be dismissed as frivolous.

               The Court notes that the statute of limitations is tolled for the period during which

a plaintiff’s available state remedies were being exhausted. See Brown v. Morgan, 209 F.3d 595,

596-97 (6th Cir. 2000).

 The Prison Litigation Reform Act amended 42 U.S.C. § 1997e to provide: “No action shall be
 brought with respect to prison conditions under section 1983 of this title, or any other Federal
 law, by a prisoner confined in any jail, prison, or other correctional facility until such
 administrative remedies as are available are exhausted.” 42 U.S.C. § 1997e(a) (1999). This
 language unambiguously requires exhaustion as a mandatory threshold requirement in prison
 litigation. Prisoners are therefore prevented from bringing suit in federal court for the period of
 time required to exhaust “such administrative remedies as are available.” For this reason, the
 statute of limitations which applied to Brown’s civil rights action was tolled for the period
 during which his available state remedies were being exhausted. See Harris v. Hegmann, 198
 F.3d 153, 157-59 (5th Cir. 1999) (per curiam); Cooper v. Nielson, 194 F.3d 1316, 1999 WL
 719514 (9th Cir. 1999).

Id. at 596.

               The total grievance process from the point of filing a Step I grievance to providing

a Step III response shall generally be completed within 120 calendar days. MDOC Policy

Directive 03.02.130 ¶ S (effective July 9, 2007). Therefore, assuming that Plaintiff filed a timely

grievance, the 120 days would have expired in April of 2018. Plaintiff did not file his complaint

until October 4, 2018. Therefore, Plaintiff’s complaint will be dismissed.




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                                            Conclusion

               Having conducted the review required by the Prison Litigation Reform Act, the

Court determines that Plaintiff’s complaint will be dismissed as frivolous, under 28 U.S.C.

§§ 1915(e)(2) and 1915A(b), and 42 U.S.C. § 1997e(c).

               The Court must next decide whether an appeal of this action would be in good faith

within the meaning of 28 U.S.C. § 1915(a)(3). See McGore v. Wrigglesworth, 114 F.3d 601, 611

(6th Cir. 1997). For the same reasons that the Court dismisses the action, the Court discerns no

good-faith basis for an appeal. Should Plaintiff appeal this decision, the Court will assess the

$505.00 appellate filing fee pursuant to § 1915(b)(1), see McGore, 114 F.3d at 610-11, unless

Plaintiff is barred from proceeding in forma pauperis, e.g., by the “three-strikes” rule of § 1915(g).

If he is barred, he will be required to pay the $505.00 appellate filing fee in one lump sum.

               This is a dismissal as described by 28 U.S.C. § 1915(g).

               A judgment consistent with this opinion will be entered.



Dated: December 13, 2018                                      /s/ Gordon J. Quist
                                                             GORDON J. QUIST
                                                       UNITED STATES DISTRICT JUDGE




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